









Petition for Writ of Mandamus Denied and Opinion filed July 29, 2002









Petition for Writ of Mandamus Denied and Opinion filed
July 29, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00567-CV

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&nbsp;

IN RE TODD ALTSCHUL, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

O P I N I O N

On June 10, 2002, relator filed a petition for
writ of mandamus in this Court.&nbsp; See
Tex. Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002);&nbsp; see also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed July 29, 2002.

Panel consists of
Justices Yates, Seymore, and Guzman.

Do Not Publish ‑ Tex. R. App. P. 47.3(b).





